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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 18-cv-00334-GPG

WILLIAM MONTGOMERY, and
DAVID MONTGOMERY,

       Plaintiffs,

v.

MARK CUTTER,
MICHELLE JOHNSTON,
MATTHEW BROUGH, and
MATTHEW BREDE,

       Defendants.


                                   ORDER OF DISMISSAL


       Plaintiffs, William and David Montgomery, who are brothers, reside in Fort Collins,

Colorado. Plaintiffs initiated this action by filing, pro se, a Complaint asserting a

deprivation of their constitutional rights pursuant to 42 U.S.C. § 1983. (ECF No. 1). On

their own initiative, Plaintiffs filed, pro se, an Amended Complaint on March 13, 2018.

(ECF No. 10).

       On March 20, 2018, Magistrate Judge Gordon P. Gallagher reviewed the Amended

Complaint pursuant to D.C.COLO.LCivR 8.1(a) and determined that it was deficient

because Plaintiffs failed to state an arguable § 1983 claim for malicious prosecution based

on violation of the Fourth or Fourteenth Amendments. (ECF No. 13). Plaintiffs were

directed to file an amended pleading within 30 days of the March 20 Order. (Id.). Plaintiffs

filed a Second Amended Complaint on April 20, 2018. (ECF No. 14).

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       On May 10, 2018, Magistrate Judge Gallagher reviewed the Second Amended

Complaint and determined that it was deficient because Plaintiffs failed to allege specific

facts to show the personal participation of each named Defendant in a deprivation of their

constitutional rights; Plaintiffs failed to state an arguable § 1983 claim for malicious

prosecution or violation of their equal protection rights; and, the First Amendment

retaliatory prosecution claim appeared to be time-barred. (ECF No. 15). Plaintiffs were

directed to file a Third Amended Complaint within 30 days of the May 10 Order. (Id.).

Magistrate Judge Gallagher warned Plaintiffs that if they failed to comply, the Court would

review the sufficiency of the allegations in the Second Amended Complaint to determine

whether summary dismissal of this action was warranted. (Id.). Plaintiffs have not filed a

Third Amended Complaint in compliance with the May 10 Order. Therefore, the Court

reviews below the legal sufficiency of the Second Amended Complaint.

          Both Plaintiffs have been granted leave to proceed in forma pauperis pursuant to

28 U.S.C. § 1915. Under § 1915(e)(2)(B)(i), the Court must dismiss the action if the

Plaintiffs’ claims are frivolous or malicious. A legally frivolous claim is one in which the

plaintiff asserts the violation of a legal interest that clearly does not exist or asserts facts

that do not support an arguable claim. See Neitzke v. Williams, 490 U.S. 319, 327-28

(1989).

       The Court construes the Second Amended Complaint liberally because Plaintiffs

are not represented by counsel. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972); Hall

v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). However, the Court should not act as

an advocate for pro se litigants. See Hall, 935 F.2d at 1110. For the reasons discussed

below, this action will be dismissed.
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I. The Second Amended Complaint

       Plaintiffs allege that on or about November 3, 2015, they were homeless, and

“residing on exclusively private property, located approximately 200 feet east of

College Avenue,” in Fort Collins, Colorado, when they were approached by the

Defendant City of Fort Collins police officers. (ECF No. 14 at 6-7). According to

Plaintiffs, two of the Defendants asked them to produce identification and informed

the Plaintiffs that they were inside the “Gustav Swanson Natural Area,” at a time

when the area was closed to the public, in violation of City of Fort Collins Municipal

Code § 23-193(d)(1). (Id. at 7). The Defendants then cited Plaintiffs for violating

the municipal code provision. (Id.). Plaintiffs protested that they were not inside the

natural area, but were instead on private property. (Id.). After issuing the citations,

the Defendants ordered Plaintiffs to exit the area. (Id. at 8). The Plaintiffs

attempted to show the Defendants maps of the area that they had obtained from the

City, which indicated that Plaintiffs were not inside the Natural Area, but the

Defendants told them to “save it for court.” (Id. at 8). Plaintiffs were then directed to

leave the property and were escorted to nearby College Ave. (Id.).

       Plaintiffs allege that at William Montgomery’s trial on February 9, 2016,

Defendants Brough and Brede provided false testimony about the Plaintiffs’ location

inside the Gustav Swanson Natural Area on the night the citations were issued. (Id.

at 9). In his defense, Plaintiff offered City maps as evidence to show that he had

not been inside the boundaries of the Natural Area. (Id. at 9). The jury acquitted

William Montgomery of the charge. (Id.). The Fort Collins City Attorney then


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dismissed the related case against David Montgomery on February 18, 2016. (Id.

at 10).

          Plaintiffs assert that the Defendants engaged in a wrongful and malicious

prosecution, by issuing groundless charges against them, falsifying police reports

and providing false testimony at trial. (Id. at 10-12, 14-15). Plaintiffs further

maintain that there was no probable cause to issue the citations, and that the

Defendants retaliated against them for “Plaintiffs’ perceived challenges to authority,

for their lower socio-economic status as poor and homeless people, to deprive them

of the equal protection of the laws.” (Id. at 13-14). Plaintiffs sue the Defendants in

their individual and official capacities, see id. at 3, and seek monetary relief.

II. Analysis

   A. Official Capacity Claims

          Plaintiffs’ claims against the Defendants in their official capacities are construed as

claims against the City of Fort Collins. See Hafer v. Melo, 502 U.S. 21, 25 (1991).

          Plaintiffs were warned in the May 10 Order that to hold the City liable under § 1983,

they must allege facts in the Amended Complaint to show that an unconstitutional policy or

custom exists and that there is a direct causal link between the policy or custom and the

constitutional injury alleged. City of Canton, Ohio v. Harris, 489 U.S. 378, 385 (1989);

Myers v. Oklahoma County Bd. of County Comm'rs, 151 F.3d 1313, 1316-20 (10th Cir.

1998). Local government entities are not liable under 42 U.S.C. § 1983 solely because

their employees inflict injury on a plaintiff. Monell v. New York City Dep’t of Social Servs.,

436 U.S. 658, 694 (1978); City of Canton, Ohio v. Harris, 489 U.S. 378, 385 (1989); Myers

v. Oklahoma County Bd. of County Comm'rs, 151 F.3d 1313, 1316-20 (10th Cir. 1998);
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Hinton v. City of Elwood, Kan., 997 F.2d 774, 782 (10th Cir. 1993). Further, Plaintiffs

cannot state a claim for relief against the City of Fort Collins under § 1983 merely by

pointing to isolated incidents. Monell, 436 U.S. at 694.

       In the Second Amended Complaint, Plaintiffs allege that the Defendant police

officers issued groundless municipal citations to them because they are homeless.

However, Plaintiffs fail to identify any City municipal policy or custom that was the moving

force behind the alleged constitutional deprivations. Therefore, the official capacity claims

will be dismissed. See McCormick v. City of McAlester, No. 12-7077, 525 F. App’x 885,

888 (10th Cir. June 4, 2013) (unpublished) (plaintiff’s allegations of several instances of

alleged free-speech retaliation by the police department were insufficient, without more, to

show an unconstitutional municipal policy or custom).

   B. Personal Participation Requirement

       Plaintiffs were warned in the May 10 Order that allegations of “personal participation

in the specific constitutional violation complained of [are] essential” to imposing liability

under § 1983. Henry v. Storey, 658 F.3d 1235, 1241 (10th Cir. 2011); see also Foote v.

Spiegel, 118 F.3d 1416, 1423 (10th Cir. 1997) (“Individual liability . . . must be based on

personal involvement in the alleged constitutional violation.”). Furthermore,

       [b]ecause § 1983 [is a] vehicle[] for imposing personal liability on government
       officials, we have stressed the need for careful attention to particulars,
       especially in lawsuits involving multiple defendants. It is particularly
       important that plaintiffs make clear exactly who is alleged to have done what
       to whom, . . . as distinguished from collective allegations. When various
       officials have taken different actions with respect to a plaintiff, the plaintiff’s
       facile, passive-voice showing that his rights “were violated” will not suffice.
       Likewise insufficient is a plaintiff’s more active-voice yet undifferentiated
       contention that “defendants” infringed his rights.

Pahls v. Thomas, 718 F.3d 1210, 1225-26 (10th Cir. 2013) (internal citations and quotation
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marks omitted). “To establish personal participation, Plaintiff must show that each

individual defendant caused the deprivation of a federal right. See Kentucky v. Graham,

473 U.S. 159, 166 (1985). There must be an affirmative link between the alleged

constitutional violation and each individual defendant’s participation, control or direction, or

failure to supervise. See Butler v. City of Norman, 992 F.2d 1053, 1055 (10th Cir. 1993).

        The Second Amended Complaint alleges that all four of the Defendants were

present at the time the citations were issued to Plaintiffs, but does not allege specific facts

to show that Defendants Cutter and Johnson were personally involved in the alleged

deprivations of Plaintiffs’ constitutional rights. Plaintiffs did not file a third amended

complaint to cure the pleading deficiencies. Therefore, the § 1983 claims asserted against

Defendants Cutter and Johnson will be dismissed as legally frivolous.

    C. § 1983 Malicious Prosecution Claims

        The [First] Amended Complaint asserted a § 1983 claim of malicious prosecution

based on alleged violations of the Plaintiffs’ Fourth and Fourteenth Amendment due

process rights. However, after Magistrate Judge Gallagher warned Plaintiffs in the March

20 Order that they failed to state an arguable § 1983 claim of malicious prosecution, the

Plaintiffs did not include a § 1983 malicious prosecution claim in the Second Amended

Complaint. Notwithstanding, and in an abundance of caution, the Court addresses the

viability of the malicious prosecutions claims below.

        In addressing a § 1983 malicious prosecution claim, the Court uses the common

law elements of malicious prosecution as the “starting point” of its analysis,1 but the


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 A § 1983 malicious prosecution claim also includes the following elements: (1) the defendant caused the
plaintiff's continued confinement or prosecution; (2) the original action terminated in favor of the plaintiff; (3)
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ultimate question is whether plaintiff has proven the deprivation of a constitutional right.

Novitsky v. City of Aurora, 491 F.3d 1244, 1257-58 (10th Cir. 2007) (citing Taylor v.

Meacham, 82 F.3d 1556, 1561 (10th Cir.1996).

        1. Fourth Amendment

        “[A]t least prior to trial, the relevant constitutional underpinning for a claim of

malicious prosecution under § 1983 must be the Fourth Amendment's right to be free from

unreasonable seizures.” Becker v. Kroll, 494 F.3d 904, 914 (10th Cir. 2007) (quotations

omitted); accord Sanchez v. Hartley, 810 F.3d 750, 755 (10th Cir. 2016) (citing cases).

The Tenth Circuit explained in Becker:

        “Violation of the Fourth Amendment requires an intentional acquisition of
        physical control.” Brower v. County of Inyo, 489 U.S. 593, 596, 109 S.Ct.
        1378, 103 L.Ed.2d 628 (1989). In our cases analyzing malicious prosecution
        under § 1983, we have always proceeded based on a seizure by the state—
        arrest or imprisonment. See, e.g., Pierce, 359 F.3d at 1281 (plaintiff
        incarcerated for fifteen years); Taylor, 82 F.3d at 1558 & n. 5 (plaintiff
        arrested and held for seven weeks); Wolford v. Lasater, 78 F.3d 484, 487
        (10th Cir.1996) (plaintiff arrested). Here, Becker conceded she was never
        arrested, incarcerated, or otherwise placed under the direct physical control
        of the state. Accordingly, Becker was never “seized” in the traditional sense.

Id. at 914-15. The Tenth Circuit has thus far declined to extend § 1983 malicious

prosecution liability in cases where the plaintiff has not been arrested or incarcerated. Id.

at 915 (“A groundless charging decision may abuse the criminal process, but it does not, in

and of itself, violate the Fourth Amendment absent a significant restriction on liberty.”).

See also Fisher v. Koopman, No. 16-1335, 693 F. App’x 740, 745 (10th Cir. May 23, 2017)

(unpublished) (confirming that the Tenth Circuit has “refused ‘to expand Fourth


no probable cause supported the original arrest, continued confinement, or prosecution; (4) the defendant
acted with malice; and (5) the plaintiff sustained damages. Wilkins v. DeReyes, 528 F.3d 790, 799 (10th Cir.
2008) (internal citations omitted).

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Amendment liability’ to cases in which ‘the plaintiff has not been arrested or incarcerated,’”

quoting Becker, 494 F.3d at 915).

       Plaintiffs do not allege any specific facts in the Second Amended Complaint to show

that they were arrested in conjunction with the Defendants’ issuance of a municipal code

violation, detained in jail, or released on bond under restrictive conditions. “[T]he mere

issuance of a citation requiring presence at future legal proceedings does not qualify as a

constitutional ‘seizure.’ Martinez v. Carr, 479 F.3d 1292, 1299 (10th Cir. 2007). Plaintiffs’

allegations that after issuing the citations, the Defendants instructed Plaintiffs to leave the

area, and then escorted them to the nearby public road, are insufficient to show a “seizure”

within the meaning of the Fourth Amendment.

       Consequently, any § 1983 Fourth Amendment malicious prosecution claim asserted

in the Second Amended Complaint will be dismissed as legally frivolous.

              2. Fourteenth Amendment

       Although a § 1983 malicious prosecution claim involving a pre-trial deprivation of

liberty is grounded in the Fourth Amendment, the Tenth Circuit has recognized that

“certainly by the time of trial, constitutional analysis shifts to the Due Process Clause.”

See Pierce v. Gilchrist, 359 F.3d 1279, 1285-86 (10th Cir. 2004); see also id. n. 5

(“Because Taylor was exonerated before trial, the cause involved only the Fourth

Amendment and not also the Fourteenth Amendment); Mondragon v. Thompson, 519 F.3d

1078, 1083 (10th Cir. 2008) (“If [a plaintiff] has been imprisoned pursuant to legal but

wrongful process, he has a malicious prosecution] claim under the procedural component

of the Fourteenth Amendment”); Novitsky, 491 F.3d at 1258 (noting that a malicious

prosecution claim can be grounded in both the Fourth and Fourteenth Amendments);
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Castellano v. Fragozo, 352 F.3d 939, 942 (5th Cir.2003) (analyzing knowing use of

manufactured evidence and perjured testimony at trial as a violation of due process

sufficient to support a § 1983 malicious prosecution claim).

         Due process claims under the Fourteenth Amendment can take the form of a

procedural or substantive violation: “procedural due process ensures the state will not

deprive a party of property without engaging in fair procedures to reach a decision, while

substantive due process ensures the state will not deprive a party of property for an

arbitrary reason.” Hyde Park Co. v. Santa Fe City Council, 226 F.3d 1207, 1210 (10th Cir.

2000).

         Plaintiffs cannot maintain a Fourteenth Amendment malicious prosecution claim

based on a denial of procedural due process because they have an adequate remedy

under Colorado law in the form of a common law malicious prosecution claim. See Myers

v. Koopman, 783 F.3d 1190, 1193 (10th Cir. 2013) (citing Hewitt v. Rice, 154 P.3d 408, 411

(Colo. 2007) (outlining the elements of a malicious prosecution claim under Colorado law).

“If a state actor's harmful conduct is unauthorized and thus could not be anticipated pre-

deprivation, then an adequate post-deprivation remedy—such as a state tort claim—will

satisfy due process requirements.” Myers, 738 F.3d at 1194 (citing Becker, 494 F.3d at

921 (10th Cir.2007) (citing Parratt v. Taylor, 451 U.S. 527, 535-44 (1981), overruled on

other grounds by Daniels v. Williams, 474 U.S. 327, 327 (1986)). In this case, Plaintiffs

allege that the Defendants falsified facts to support the issuance of the municipal code

citations and also testified falsely at Plaintiff William Montgomery’s trial (ECF No. 14 at 10-

13), circumstances which could not have been anticipated or prevented pre-deprivation.


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 See Myers, 738 F.3d at 1193. Therefore, Plaintiffs cannot maintain a § 1983 malicious

 prosecution claim based on a violation of procedural due process.

           With regard to substantive due process, a claim based on the withholding of

 evidence or the presentation of false evidence at trial may implicate the Fourteenth

 Amendment due process right to a fair trial. See Becker, 494 F.3d at 923-24 (citing

 cases). See also United States v. Bagley, 473 U.S. 667, 678 (1985) (stating that “the

 suppression of evidence amounts to a constitutional violation only if it deprives the

 defendant of a fair trial.”); United States v. Garcia, 793 F.3d 1194, 1207-1208 (10th Cir.

 2015) (stating that “[a] defendant may have a Brady2 claim if the witness unintentionally

 gave false testimony or the prosecution did not correct testimony that it should have known

 was false”; the prosecutor’s knowing use of perjured testimony violates substantive due

 process under Napue v. Illinois, 360 U.S. 264 (1959)). However, “[r]egardless of any

 misconduct by government agents before or during trial, a defendant who is [not convicted]

 cannot be said to have been deprived of the right to a fair trial.” See Morgan v. Gertz, 166

 F.3d 1307, 1310 (10th Cir. 1999).

           Plaintiffs allege that Plaintiff William Montgomery was acquitted of the municipal

 violation charge by a jury, and that the citation against Plaintiff William Montgomery was

 dismissed by the prosecutor nine days later. Because neither Plaintiff was convicted at

 trial, the Plaintiffs cannot maintain a § 1983 malicious prosecution claim based on a denial

 of substantive due process.

           Consequently, to the extent the Plaintiffs assert a § 1983 Fourteenth Amendment

 malicious prosecution claim in the Second Amended Complaint, the claim will be

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     Brady v. Maryland, 373 U.S. 83 (1963).
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 dismissed as legally frivolous.

    D. Equal Protection Claim

        Plaintiffs assert in the Second Amended Complaint that the Defendants violated

 their equal protection rights by unlawfully targeting them because they were homeless and

 charging them falsely with being in a Natural Area after curfew.

        “The equal protection clause provides that ‘[n]o state shall . . . deny to any person

 within its jurisdiction the equal protection of the laws.’” Grace United Methodist Church v.

 City of Cheyenne, 451 F.3d 643, 659 (10th Cir. 2006) (quoting U.S. Const. amend. XIV,

 § 1), “which is essentially a direction that all persons similarly situated should be treated

 alike,” City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985). To state an

 arguable equal protection claim, a plaintiff must first make a “threshold showing” that he or

 she was treated differently than others with whom the plaintiff was similarly situated.

 Brown v. Montoya, 662 F.3d 1152, 1172-73 (10th Cir. 2011) (internal quotation marks

 omitted). See also Matelsky v. Gunn, No. 00-7097, 15 F. App’x 686, 689 (10th Cir. July 19,

 2001) (unpublished) (“In the absence of any specific allegations of differential treatment,

 the Equal Protection claim is patently inadequate under any of the three equal protection

 theories—fundamental rights, suspect classification, or “class of one”—and was properly

 dismissed as frivolous.”). Accord Village of Willowbrook v. Olech, 528 U.S. 562, 564

 (2000) (stating that even in “class of one” equal protection claim, the plaintiff must show

 that he “has been intentionally treated differently from others similarly situated.”).

        To the extent Plaintiffs’ claim can be characterized as one for selective enforcement

 or prosecution, the claim is evaluated according to ordinary equal protection standards.

 See Wayte v. United States, 470 U.S. 598, 608 (1985). See also Whren v. United States,
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 517 U.S. 806, 813 (1996) (“[T]he constitutional basis for objecting to intentionally

 discriminatory application of laws is the Equal Protection Clause. . . .”). To establish a

 claim of selective law enforcement or prosecution, “[t]he plaintiff must demonstrate that the

 defendant's actions had a discriminatory effect and were motivated by a discriminatory

 purpose.” Marshall, 345 F.3d at 1168. At the threshold, Plaintiffs are required to allege

 facts to show that “[they] ha[ve] been singled out for [enforcement of the law] while others

 similarly situated generally have not been proceeded against for the type of conduct

 forming the basis of the charge against [them].” Furman, 31 F.3d at 1038 (internal

 quotation marks and citation omitted). See also United States v. James, 257 F.3d 1173,

 1179 (10th Cir. 2001).

        Plaintiffs were warned in the May 10 Order that to pursue an equal protection claim,

 they must allege facts to show that they, as homeless persons, were treated differently

 from similarly situated non-homeless individuals with respect to the Defendants’

 enforcement of the Natural Area curfew ordinance. Plaintiffs’ conclusory assertions that

 Defendants violated their equal protection rights are insufficient to state an arguable claim

 for relief. See Brown, 662 F.3d at 1172 (citing Robertson v. Las Animas Cnty. Sheriff's

 Dept., 500 F.3d 1185, 1193 (10th Cir. 2007)). See also Kansas Penn Gaming, LLC v.

 Collins, 656 F.3d 1210, 1219 (10th Cir. 2011) (stating that a plaintiff's § 1983 claim was

 properly dismissed for failure to provide specific examples of similarly situated individuals

 who received different treatment).

        Consequently, the Fourteenth Amendment equal protection claim for selective

 enforcement of Fort Collins Municipal Code § 23-193(d)(1), or selective prosecution of

 Plaintiffs for violation of the same, will be dismissed as legally frivolous.
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        E. First Amendment Retaliatory Prosecution/Vindictive Prosecution

        Plaintiffs allege in the Second Amended Complaint that the Defendants “retaliate[d]”

 against them and “punish[ed]” them “for appearing the challenge the officers . . .” in

 connection with the Defendants’ issuance of citations to them for violating the Nature Area

 curfew ordinance, see ECF No. 14 at 12, and then made false statements to the

 prosecutor to ensure the Plaintiffs’ criminal prosecution (id. at 13). Although not expressly

 pleaded, the Court construes the allegations liberally as a claim of vindictive prosecution or

 retaliatory prosecution, based on Plaintiff’s exercise of First Amendment rights.

        A government official may not retaliate against an individual for engaging in

 constitutionally protected activity, such as the exercise of First Amendment rights. See

 Shero v. City of Grove, Okla., 510 F.3d 1196, 1203 (10th Cir. 2007). The Tenth Circuit has

 characterized a claim of First Amendment retaliatory prosecution one for “vindictive

 prosecution.” See Wolford v. Lasater, 78 F.3d 484, 488 (10th Cir.1996) (comparing a First

 Amendment claim to a “vindictive prosecution action”); Gehl Group v. Koby, 63 F.3d 1528,

 1534 (10th Cir. 1995) (stating that a First Amendment claim alleging retaliatory prosecution

 “is essentially one of vindictive prosecution”), implicitly overruled on another issue by

 Currier v. Doran, 242 F.3d 905, 916 (10th Cir. 2001); United States v. P.H.E., Inc., 965

 F.2d 848, 853 (10th Cir.1992) (discussing vindictive prosecution claim in terms of

 prosecution motivated by “the improper purpose of interfering with the defendant's

 constitutionally protected speech”); cf. Phelps v. Hamilton, 59 F.3d 1058, 1065 n. 12 (10th

 Cir.1995) (stating that prosecution brought for the purpose of hindering an exercise of

 constitutional rights may constitute “harassing and/or bad faith prosecution”).


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       As discussed in the May 10 Order, a claim of First Amendment retaliatory

 prosecution is subject to the general two-year limitation period applicable to § 1983 actions

 filed in Colorado. See Blake v. Dickason, 997 F.2d 749, 750-51 (10th Cir. 1993).

 “Although state law determines the applicable statute of limitations period, federal law

 governs the particular point in time at which a claim accrues.” Kripp v. Luton, 466 F.3d

 1171, 1175 (10th Cir. 2006). Under federal law, the claims accrue “when the plaintiff knows

 or has reason to know of the injury which is the basis of his action.” Id. (internal quotation

 marks omitted).

        The Tenth Circuit has made clear that a plaintiff’s § 1983 claim that he was issued a

 citation and prosecuted in retaliation for his exercise of First Amendment rights is not

 subject to any special accrual rules, and, therefore, the claim accrues at the time the

 citation was issued. See Mata v. Anderson, 635 F.3d 1250, 1253 (10th Cir. 2011) (stating

 that a First Amendment retaliator-prosecution claim accrues when the plaintiff has reason

 to know the alleged retaliatory prosecution—i.e., the date the plaintiff learned that the

 police filed a criminal complaint). “Unlike a malicious prosecution claim, . . . , a First

 Amendment retaliatory-prosecution claim does not require a favorable termination of the

 underlying action.” Id.

        The First Amendment retaliatory/vindictive prosecution claim accrued on November

 3, 2015, when the Defendants issued the alleged groundless municipal code citations to

 the Plaintiffs. The instant action was filed on February 9, 2018, more than two years later.

 It thus appears from the face of the pleading that the retaliatory prosecution claim is time-

 barred. See Mata, 635 F.3d at 1253 (rejecting plaintiff’s claim that his First Amendment

 retaliatory prosecution claim accrued at a date later than the filing of the criminal complaint
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 because the defendant police sergeant’s actions in testifying and maintaining the action

 against him amounted to a continuing violation of his First Amendment rights.)

        Although the statute of limitations is an affirmative defense, see Fed. R. Civ. P.

 8(c)(1), the court may dismiss a claim sua sponte on the basis of an affirmative defense if

 the defense is “obvious from the face of the complaint” and “[n]o further factual record [is]

 required to be developed in order for the court to assess the [plaintiff’s] chances of

 success.” Yellen v. Cooper, 828 F.2d 1471, 1476 (10th Cir. 1987); see also Fratus v.

 DeLand, 49 F.3d 673, 676 (10th Cir. 1995) (stating that dismissal under § 1915 on the

 basis of an affirmative defense is permitted “when the claim’s factual backdrop clearly

 beckons the defense”).

        “[W]hen a federal statute [like § 1983] is deemed to borrow a State’s limitations

 period, the State’s tolling rules are ordinarily borrowed as well . . . .” Heimeshoff v.

 Hartford Life & Accident Ins. Co., 134 S. Ct. 604, 616 (2013). Thus, in most § 1983

 actions, “a state statute of limitations and the coordinate tolling rules” are “binding rules of

 law.” Board of Regents v. Tomanio, 446 U.S. 478, 484 (1980). The State of Colorado

 recognizes the doctrine of equitable tolling to suspend a statute of limitations period “when

 flexibility is required to accomplish the goals of justice.” Morrison v. Goff, 91 P.3d 1050,

 1053 (Colo. 2004) (internal quotation marks omitted). For example, equitable tolling of a

 statute of limitations is appropriate when “plaintiffs did not timely file their claims because

 of ‘extraordinary circumstances’ or because defendants’ wrongful conduct prevented them

 from doing so.” Id. However, “when the dates given in the complaint make clear that the

 right sued upon has been extinguished, the plaintiff has the burden of establishing a


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 factual basis for tolling the statute.” Aldrich v. McCulloch Properties, Inc., 627 F.2d 1036,

 1041 n. 4 (10th Cir. 1980).

        In the May 10 Order, Magistrate Judge Gallagher warned the Plaintiffs that any

 § 1983 First Amendment retaliatory prosecution claim appeared to be untimely unless they

 could demonstrate a possible entitlement to equitable tolling in an amended pleading.

 (ECF No. 15 at 8-10). Plaintiffs did not file a Third Amended Complaint. Therefore, the

 § 1983 First Amendment retaliatory/vindictive prosecution claim will be dismissed as time-

 barred based on the allegations in the Second Amended Complaint.

 III. Orders

        For the reasons discussed above, it is

        ORDERED that the Second Amended Complaint (ECF No. 14) and this action are

 DISMISSED WITH PREJUDICE as legally frivolous, pursuant to 28 U.S.C.

 § 1915(e)(2)(B). It is

        FURTHER ORDERED that leave to proceed in forma pauperis on appeal is denied

 for the purpose of appeal. The Court certifies pursuant to 28 U.S.C. ' 1915(a)(3) that any

 appeal from this order would not be taken in good faith. See Coppedge v. United States,

 369 U.S. 438 (1962). If Plaintiffs file a notice of appeal, they must also pay the full $505

 appellate filing fee or file a motion to proceed in forma pauperis in the United States Court

 of Appeals for the Tenth Circuit within thirty days in accordance with Fed. R. App. P. 24. It

 is

        FURTHER ORDERED that the Motions for Appointment of Counsel (ECF Nos. 5,

 11) are DENIED as moot.


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      DATED July 13, 2018, at Denver, Colorado.

                                     BY THE COURT:



                                     s/Lewis T. Babcock
                                     LEWIS T. BABCOCK, Senior Judge
                                     United States District Court




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